Case 4:16-cv-00754-ALM Document 18-14 Filed 12/08/16 Page 1 of 2 PageID #: 181



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

ELIZABETH ZACHARY, On Behalf of                )
Herself and All Others Similarly               )      JURY TRIAL DEMANDED
Situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )
vs.                                            )      Case no.: 4:16-cv-00754-ALM
                                               )
COBALT MORTGAGE, INC.,                         )
                                               )
       Defendant.                              )


               ORDER GRANTING PLAINTIFF’S MOTION FOR NOTICE
                   AND FLSA CONDITIONAL CERTIFICATION

       Before the Court is Plaintiff’s Motion for Notice and FLSA Conditional Certification. The

Court, having considered the Motion, Defendant’s Response, and Plaintiff’s Reply is of the

opinion the Motion should be, and hereby is, GRANTED. The Court conditionally certifies this

matter as a collective action, and ORDERS as follows:

       Defendant is ordered to produce the names, last known addresses, email addresses, and

telephone numbers of the current and former Cobalt employees working in mortgage processing

positions including, but not limited to, Processors and Senior Processors, from three years prior to

the date of this Order to present. (“Employee Information”). Defendant shall provide the

Employee Information in an electronic form that can be used by Plaintiff in mailing out and

emailing the Court-approved Notice and Consent Form. This information must be produced to

Plaintiff in electronic format within 7 days of the entry of this Order.




Order on Motion for Notice
Case 4:16-cv-00754-ALM Document 18-14 Filed 12/08/16 Page 2 of 2 PageID #: 182



       If Defendant fails to provide the Employee Information within 7 days of the date this order

is signed, the statute of limitations is equitably tolled for each day after the 7h day that Defendant

fails to provide the Employee Information.

       The Court authorizes that the Notice and Consent Form submitted by Plaintiff (Exhibit M)

may be immediately issued to those individuals whose names are being provided as required by

this Order along with a self-addressed, postage paid return envelope. Plaintiff is permitted to send

subsequent mailings and emailings of this Notice. The Notice and Consent forms shall be mailed

by U.S. mail and emailed.

       The Potential Plaintiffs shall be provided sixty (60) days after the date the Notice and

Consent forms are mailed to file a Consent to Join form opting-in to this litigation, unless the

Parties agree to permit late filings or good cause can be shown as to why the consent was not

postmarked prior to the deadline. Plaintiff shall inform opposing counsel as to the date on which

the Notice forms were sent to the Potential Plaintiffs. Plaintiff’s counsel shall file the signed

consent forms with the Court. All consent forms postmarked, fax stamped, and/or emailed on or

before the end of the Opt-In Period will be considered timely.

       Within 30 days after the close of the opt-in period, the Parties are directed to confer

pursuant to Rule 16(b) to present the Court with a proposed Joint Scheduling Order setting forth

proposed dates and covering the items set forth in the Court’s previous Order Governing

Proceedings. The proposed Joint Scheduling Order should set forth the Parties’ agreements

concerning how discovery will proceed and how the case will proceed at trial. If the Parties cannot

agree on elements of the Proposed Scheduling Order, they may present their views in the

submission for Court determination. The Parties must file the Joint Scheduling Report and Case

Management Plan within 14 days of the deadline for the Parties to confer.




Order on Motion for Notice
